   Case 2:20-cv-00169-JAK-DFM          Document 70       Filed 12/27/24       Page 1 of 1 Page ID
                                            #:6365
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. LA CV20-00169-JAK-DFMx                                  Date 12/27/24

Title: Sonos, Inc. v. Google LLC

Present: The Honorable John A. Kronstadt




                 Daniel Torrez
                Deputy Clerk                                    Court Reporter / Recorder


Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:




Proceedings:    G In Court          ✘ In Chambers
                                    G                   G Counsel Notified

G Case previously closed in error. Make JS-5.

G Case should have been closed on entry dated                             .

G Case settled but may be reopened if settlement is not consummated within                     days.
  Make JS-6.

✘ Other The stay, previously issued in Dkt. 30 is vacated.
G

G Entered                                  .




                                                                 Initials of Preparer       D.T.




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
